          Case 1:17-cv-00071-ELR Document 24 Filed 09/05/17 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                      )
OCTAVIA EVERETT,                      )
                                      )
      Plaintiff,                      )
                                      )                Civil Action No.
     v.                               )           1: 17-cv-00071-ELR-CMS
                                      )
SCREENING REPORTS, INC.               )              Electronically Filed
                                      )
      Defendant.                      )
--------�>
CERTIFICATE OF CONSENT FOR WITHDRAWAL OF ATTORNEY

       COMES NOW, Plaintiff, Octavia Everett, and pursuant to L.R.

83. l(E)(2)(d) N.D.Ga., gives notice that Erin A. Novak, formerly of the law firm

of Francis & Mailman, P.C., withdraws as counsel for Plaintiff. Octavia Everett

submits that she consents to this withdrawal of counsel.

       Plaintiff requests that all notices and other matters relative to this case be

sent to James Feagle of Skaar & Feagle, LLP and Geoffrey H. Baskerville of

Francis & Mailman, P.C., at the below addresses, who remain as counsel of record

for Plaintiff.


Dated: September 5, 2017
Case 1:17-cv-00071-ELR Document 24 Filed 09/05/17 Page 2 of 3




                          Respectfully Submitted,
                          FRANCIS & MAILMAN, P.C.


                    BY:    �Pb�
                          GEOFFREY H. BASKERVILLE
                          Land Title Building, 19th Floor
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                          Philadelphia, PA 19110
                          (215) 735-8600

                          James Feagle, Esq.
                          Skaar & Feagle, LLP
                          2374 Main Street
                          (404) 373-1970

                          Attorneys for Plaintiff



                          With the consent of,




                          With the consent of,

                           ��
                          Erin A. Novak, Withdrawing Attorney




                             2
          Case 1:17-cv-00071-ELR Document 24 Filed 09/05/17 Page 3 of 3




                                CERTIFICATE OF SERVICE

I, Geoffrey H. Baskerville, hereby certify that on September 5, 2017, I served the foregoing

notice on all counsel of record via ECF.




                                              Pt>�
                                             FRANCIS & MAILMAN, P.C.



                                     BY:     �
                                             GEOFFREY H. BASKERVILLE

                                             Attorneys for Plaintiff




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